                      UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF REGION 3 DISTRICT OF PA
                              REGION 3 DIVISION

In re: STEPHANIE BROOKS-MANNING §                    Case No. 18-bk-15889
                                §
                                §
            Debtor(s)           §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Kenneth E. West, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 09/06/2018.

       2) The plan was confirmed on 02/26/2019.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was dismissed on 09/28/2022.

       6) Number of months from filing or conversion to last payment: 44.

       7) Number of months case was pending: 51.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $35,402.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)            $ 47,170.13
      Less amount refunded to debtor(s)                       $ 7,300.00
NET RECEIPTS                                                                      $ 39,870.13



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                  $ 5,200.00
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                        $ 3,784.42
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                   $ 8,984.42

Attorney fees paid and disclosed by debtor(s):                  $ 250.00



Scheduled Creditors:
Creditor                                        Claim        Claim        Claim    Principal    Interest
Name                               Class    Scheduled     Asserted     Allowed         Paid        Paid
GEORGETTE MILLER, ESQ.             Lgl       7,300.00     5,200.00     5,450.00    5,200.00        0.00
CAVALRY INVESTMENTS, LLC AS        Uns           0.00       656.39       656.39        0.00        0.00
CAVALRY SPV I LLC, ASSIGNEE GE     Uns           0.00       796.13       796.13        0.00        0.00
CACH, LLC AS ASSIGNEE OF           Uns           0.00       760.69       760.69        0.00        0.00
FLAGSTAR BANK FSB                  Sec           0.00   289,347.81   322,427.57   30,885.71        0.00
CACH LLC                           Uns         761.00         0.00         0.00        0.00        0.00
HOME DEPOT                         Uns         480.00         0.00         0.00        0.00        0.00
I C SYSTEMS INC                    Uns         793.00         0.00         0.00        0.00        0.00
MACYS                              Uns         513.00         0.00         0.00        0.00        0.00
PORTFOLIO RECOV ASSOC              Uns         691.00         0.00         0.00        0.00        0.00
TD BANK USA/ TARGETCRED            Uns         575.00         0.00         0.00        0.00        0.00
VERIZON                            Uns       1,141.00         0.00         0.00        0.00        0.00
WALMART/ GEMB                      Uns         228.00         0.00         0.00        0.00        0.00
WF/ RAYMOUR                        Uns           0.00         0.00         0.00        0.00        0.00
WFFNATLBNK                         Uns      10,782.00         0.00         0.00        0.00        0.00




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Summary of Disbursements to Creditors:

                                          Claim           Principal     Interest
                                          Allowed         Paid          Paid
Secured Payments:
      Mortgage Ongoing                          $ 0.00         $ 0.00       $ 0.00
      Mortgage Arrearage                 $ 289,347.81    $ 19,375.37        $ 0.00
      Debt Secured by Vehicle                   $ 0.00         $ 0.00       $ 0.00
      All Other Secured                   $ 33,079.76    $ 11,510.34        $ 0.00
TOTAL SECURED:                           $ 322,427.57    $ 30,885.71        $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage             $ 0.00         $ 0.00        $ 0.00
        Domestic Support Ongoing               $ 0.00         $ 0.00        $ 0.00
        All Other Priority                     $ 0.00         $ 0.00        $ 0.00
TOTAL PRIORITY:                                $ 0.00         $ 0.00        $ 0.00

GENERAL UNSECURED PAYMENTS:                $ 2,213.21         $ 0.00        $ 0.00



Disbursements:

       Expenses of Administration          $ 8,984.42
       Disbursements to Creditors         $ 30,885.71

TOTAL DISBURSEMENTS:                                     $ 39,870.13




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 12/15/2022                        By: Kenneth E. West
                                             Chapter 13 Standing Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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